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UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF FLORIDA
FT. MYERS DIVISION

HAROLD SIMMONS,

Plaintiff, Case No. 2:14-cv-00390-FTM-29CM

Vv.

HOUSE OF BREWZ LLC, a Florida limited
liability company,

Defendant.

 

 

DEFENDANT’S OPPOSITION TO MOTION TO WITHDRAW AS COUNSEL OF RECORD
COMES NOW Defendant, HOUSE OF BREWZ, LLC (hereinafter, “Defendant”), by and

through undersigned counsel, and files this Opposition to MORGAN & MORGAN, P.A.’s
(hereinafter “Plaintiffs Counsel’) Motion to Withdraw as Counsel of Record, and state as

follows:

STATEMENT OF FACTS

This is an action by Plaintiff, Harold Simmons, against his former employer the
Defendant, House of Brewz, LLC, for violation of the overtime provision pursuant to the Fair
Labor Standards Act (“FLSA”) that was filed on July 10, 2014. Plaintiff seeks damages and a
reasonable attorney’s fee. Defendant filed an answer, together with seven affirmative defenses.
In addition, there is an Amended Motion to Compel by Defendant currently pending in this case.

MEMORANDUM OF LAW
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A motion to withdraw as counsel of record is a matter in the discretion of the court.
Andrews v. Bechtel Power Corp., 780 F.2d 124, 135 (1* Cir. 1985); see also Obermaier v.
Driscoll, 2000 WL 33175446 (M.D. Fla. Dec. 13, 2000). Pursuant to Local Rule 2.03, the Court
may permit withdrawal, provided that such withdrawal does not cause delay or continuance of
the case. To the extent that a withdrawal does cause a delay or continuance, counsel must
establish “compelling ethical considerations” before the Court will allow withdrawal.
Obermaier, 2000 WL 33175446 at *1.

In considering counsel’s motion to withdraw, the court weighs “the reasons why
withdrawal is sought; the prejudice withdrawal may cause the litigants; the delay in the
resolution of the case which would result in withdrawal; and, the effect of withdrawal on the
efficient administration of justice.” Obermaier, 2000 WL 33175446 at *1 (quoting Rusinow v.

Kamara, 920 F.Supp. 69, 71 (D.N.J.1996)).

A. Plaintiff's Counsel Failed to State grounds for withdrawal

In the instant case, Plaintiffs counsel has failed to state reasons why withdrawal is being
sought. Plaintiff’s counsel has provided the court only with a request to seek leave to withdraw.
Furthermore, Plaintiff's counsel never stated in her request the circumstances that may have
arisen which prevents her and her firm from continuing to represent Mr. Harold Simmons in his
action for an alleged violation of the Fair Labor Standards Act. Thus, counsel’s request to
withdraw must be denied.

B. Withdrawal May cause Prejudice to Both Parties

The withdrawal of Plaintiff's Counsel at the current stage of the case is likely to prejudice
both parties in this matter. ““When courts have denied such motions due in part to the state of the

case schedule, it has almost uniformly been because the motion to withdraw was made at or near
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trial...” Sharp v. Verizon Del. Inc., 2012 WL 6212615, at *4 (D. Del. Dec. 12, 2012); see, e.g.,
Carter v. City of Philadelphia, 2000 WL 537380, at *2 (E.D. Pa. Apr. 25, 2000) (the court
denied, in part, the motion to withdraw because if the motion were granted, plaintiff would be
forced to try the case pro se “five weeks from today”); Chester v. May Dep’t Store, 2000 WL
12896, at *1 (E.D. Pa. Jan. 7, 2000) (the motion to withdraw was denied, in part, because “‘all
discovery and pretrial proceedings [had] concluded,” and the case was on the eve of trial);
Rusinow v. Kamara, 920 F. Supp. 69, 72 (D.N.J. 1996) (denying motion to withdraw, in part,
because plaintiff's counsel had litigated the case for two years and trial was less than two weeks
away); Mervan v. Darrell, 1994 WL 327626, at *1-2 (E.D. Pa. July 8, 1994) (denying motion to
withdraw where trial date was scheduled for less than two months from date of denial). In the
present case, both parties appeared for a final settlement conference to possibly resolve this case
on April 29, 2015. The case could not be resolved via settlement, and all parties agreed to move
forward with trial. Based on that fact, Defendants have commenced preparing for a trial, which
weighs against granting Plaintiff's Counsel Motion to Withdraw.

Furthermore, it is unlikely that the Plaintiff, Harold Simmons, would be able to retain
substitute counsel at this time. First of all, the court should be aware of “the difficulties that a
pro se plaintiff can face in litigating a civil case; this can be considered a real prejudice that
Plaintiff would suffer if the Motion [to withdraw] was granted and if he was not thereafter able
to obtain substitute counsel.” Sharp, 2012 WL 6212615, at *4 (citing Carter, 2000 WL 537380,
at *2; Mervan, 1994 WL 327626, at *1-2). Here, withdrawal of Plaintiff's Counsel would leave
Mr. Simmons in a position to complete, on his own a trial in his employment action. If this
motion to withdraw is granted, Mr. Simmons would be required to, for instance: (1) respond to

any dispositive motions submitted by Defendant; or (2) arrange for the trial appearance of any
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experts he intends to call in support of his damages, or (3) arrange for the trial appearance of any
witnesses that he would want to testify to support his claims. Therefore, requiring Mr. Simmons
to proceed pro se, without any advice and assistance of counsel, would prejudice the Plaintiff. In
addition, it may even hinder the efficient process of his case towards its trial date.

The Defendant’s would also be prejudiced by the withdrawal of Plaintiff's Counsel, and
opposes the Motion to Withdraw. As stated in Plaintiff's Counsel’s motion, there is still a
pending motion to compel interrogatory responses, which to date has been amended and pending
before this Court. The parties currently disagree on certain interrogatories by Defendant, which
ultimately led to Defendant’s amended motion to compel. The amended motion to compel
should be resolved prior to making a decision on Plaintiff's Counsel’s motion to withdraw since
the discovery is necessary for preparing a defense in this case. Furthermore, case law suggests
that prejudice is likely to exist where one party objects in good faith to the withdrawal of
opposing counsel. See, e.g., Sharp, 2012 WL 6212615, at *5 (finding no prejudice where the
defendant did not oppose withdrawal of plaintiffs’ counsel); Magargal v. New Jersey, 2011 WL
5526077, at *2 (D.N.J. Nov. 14, 2011) (the court found that allowing withdrawal of plaintiffs’
counsel would not prejudice defendants, where defendants did not indicate any objection to

motion).

C. Delay in Resolution of the Case and Effect on Administration of Justice that Would
Result from Withdrawal

Judges may permit lawyers to withdraw, if another lawyer has agreed to take over the
case, and the substitution of a new lawyer can be accomplished without delaying the resolution
of the case. See, e.g., Louis S. Rulli, “Roadblocks to Access to Justice: Reforming Ethical Rules
to Meet the Special Needs of Low-Income Clients,” 17 U. Pa. J.L. & Soc. Change 347 (2014)

(“Judges are understandably reluctant to allow lawyers to withdraw their appearances when they
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know that to do so will leave an unrepresented litigant with little hope of obtaining new
counsel”). As discussed above, it is unlikely that the Plaintiff, Harold Simmons, will be able to
secure new counsel to review his case and prepare for trial in this matter. If withdrawal is
permitted, it would inevitably delay the resolution of the pending amended motion to compel, as
well as the trial that Defendant are spending money to prepare for at this time.

Moreover, the withdrawal would negatively impact the efficient administration of justice
if Plaintiff is unable to obtain a new lawyer. “Courts have understandably found that [if] a
plaintiff [is] unable to obtain new counsel and required to litigate [his] case on [his] own behalf,
the grant of a motion to withdraw could have an impact on the efficient administration of
justice.” Sharp, 2012 WL 6212615, at *5 (citing Carter, 2000 WL 537380, at *2; Chester, 2000
WL 12896, at *1; Mervan, 1994 WL 327626, at *1-2). The fact that this case is dealing with
provisions of the FLSA, it would probably be difficult for a non-attorney like Harold Simmons to
familiarize himself with this statute on the heels of trial; thus making the case complicated to
handle pro se. Therefore, these factors weigh against granting Plaintiff's Counsel’s request for
leave to withdraw.

D. Conclusion

For the foregoing reasons, Defendant asks the Court to deny the relief requested by
Morgan & Morgan, P.A. and enter an Order which denies them leave to withdraw as counsel of
record for Plaintiff Harold Simmons, together with such other and further relief as the Court may

deem just and appropriate under the circumstances.
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Date this O day of May, 2015.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on May tO 0, 2015, I certify that the foregoing
document is being served this day on all counsel of record or pro_se party listed below in the
manner specified, either via transmission of Notices of Electropi iling generated by CM/ECF or
in some other authorized manner for those counsel or p e not authorized to receive
electronic Notices of Electronic Filing.

   
   

 

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